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                                          Exhibit 1

    Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                            Issuing Trusts
1   ACE 2004‐FM1       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                       Equity Loan Trust, Series
                       2004‐FM1
                                                   Prudential ‐ Prudential Investment Portfolios 9
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
                                                   Prudential ‐ The Prudential Investment Portfolios 2
                                                   Prudential ‐ The Prudential Investment Portfolios, Inc. 17
                                                   Prudential ‐ The Prudential Series Fund
2   ACE 2004‐FM2       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                       Equity Loan Trust, Series
                       2004‐FM2
                                                   PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                   Unconstrained Bond Segregated Portfolio
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
3   ACE 2004‐HE1       ACE Securities Corp. Home   PIMCO ‐ Pacific Bay CDO, Ltd.
                       Equity Loan Trust, Series
                       2004‐HE1
4   ACE 2004‐HE2       ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                       Equity Loan Trust, Series   America
                       2004‐HE2
5   ACE 2004‐HE3       ACE Securities Corp. Home   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                       Equity Loan Trust, Series
                       2004‐HE3
6   ACE 2004‐HE4       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                       Equity Loan Trust, Series
                       2004‐HE4
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Investment Grade Credit Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                   Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                   Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                   Strategy Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                   IndexPLUS® AR Strategy Fund
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                   Duration Portfolio
7   ACE 2004‐OP1       ACE Securities Corp. Home   PIMCO ‐ PIMCO Distressed Senior Credit Opportunities
                       Equity Loan Trust, Series   Fund II, L.P.
                       2004‐OP1
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     Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                             Issuing Trusts
                                                    Prudential ‐ Prudential Trust Company
                                                    Prudential ‐ The Prudential Insurance Company of
                                                    America
                                                    Prudential ‐ The Prudential Investment Portfolios 2
                                                    Prudential ‐ The Prudential Investment Portfolios, Inc. 17
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
8    ACE 2004‐RM1       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                        Equity Loan Trust, Series   Asset‐Backed Securities Portfolio
                        2004‐RM1
                                                    PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                    Mortgage Portfolio
9    ACE 2004‐RM2       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                        Equity Loan Trust, Series   Diversified Income Fund
                        2004‐RM2
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                    Bond Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                    Investment Grade Credit Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
10   ACE 2004‐SD1       ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                        Equity Loan Trust, Series   America
                        2004‐SD1
11   ACE 2005‐AG1       ACE Securities Corp. Home   BlackRock ‐ BlackRock CoreAlpha Bond Fund E
                        Equity Loan Trust, Series
                        2005‐AG1
                                                    BlackRock ‐ BlackRock CoreAlpha Bond Master Portfolio
                                                    BlackRock ‐ BlackRock CorePlus Bond Fund B
                                                    BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                                                    Fund Ltd.
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
12   ACE 2005‐ASP1      ACE Securities Corp. Home   Brookfield ‐ Brookfield Mortgage Opportunity Income
                        Equity Loan Trust, Series   Fund Inc.
                        2005‐ASP1
                                                    Brookfield ‐ Brookfield Securitized Credit QIF Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
13   ACE 2005‐HE1       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        Equity Loan Trust, Series
                        2005‐HE1
                                                    PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Tactical Opportunities Master Fund Ltd.
                                                    Prudential ‐ The Gibraltar Life Insurance Company, Ltd.
                                                    Prudential ‐ The Prudential Insurance Company of
                                                    America
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     Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                             Issuing Trusts
14   ACE 2005‐HE2       ACE Securities Corp. Home   BlackRock ‐ BlackRock CoreAlpha Bond Fund E
                        Equity Loan Trust, Series
                        2005‐HE2
                                                    BlackRock ‐ BlackRock CoreAlpha Bond Master Portfolio
                                                    BlackRock ‐ BlackRock CorePlus Bond Fund B
                                                    PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                    LDC
                                                    Prudential ‐ The Gibraltar Life Insurance Company, Ltd.
                                                    Prudential ‐ The Prudential Insurance Company of
                                                    America
15   ACE 2005‐HE3       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                        Equity Loan Trust, Series   Strategy Fund
                        2005‐HE3
                                                    PIMCO ‐ Terlingua Fund 2, LP
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
16   ACE 2005‐HE4       ACE Securities Corp. Home   BlackRock ‐ BlackRock CoreAlpha Bond Fund E
                        Equity Loan Trust, Series
                        2005‐HE4
                                                    BlackRock ‐ BlackRock CoreAlpha Bond Master Portfolio
                                                    BlackRock ‐ BlackRock CorePlus Bond Fund B
                                                    PIMCO ‐ Fixed Income SHares: Series M
                                                    PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                    Japan CorePLUS Strategy Segregated Portfolio
                                                    PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO EMG Intl Low Volatility
                                                    RAFI®‐PLUS AR Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
17   ACE 2005‐HE5       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: PIMCO Moderate Duration Fund
                        Equity Loan Trust, Series
                        2005‐HE5
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Tactical Opportunities Master Fund Ltd.
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
18   ACE 2005‐HE6       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                        Equity Loan Trust, Series
                        2005‐HE6
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Duration Hedged Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                    Credit Absolute Return Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                    (Unhedged)
                                                    PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                    LDC
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     Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                             Issuing Trusts
19   ACE 2005‐HE7       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                        Equity Loan Trust, Series
                        2005‐HE7
                                                    PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                    Investment Grade Credit Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                    LDC
20   ACE 2005‐RM2       ACE Securities Corp. Home   PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                        Equity Loan Trust, Series   LDC
                        2005‐RM2
21   ACE 2005‐SD3       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        Equity Loan Trust, Series
                        2005‐SD3
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
22   ACE 2005‐SL1       ACE Securities Corp. Home   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                        Equity Loan Trust, Series
                        2005‐SL1
23   ACE 2005‐WF1       ACE Securities Corp. Home   Brookfield ‐ Crystal River Capital Inc.
                        Equity Loan Trust, Series
                        2005‐WF1
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
24   ACE 2006‐ASP3      ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                        Equity Loan Trust, Series   America
                        2006‐ASP3
25   ACE 2006‐ASP5      ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                        Equity Loan Trust, Series   America
                        2006‐ASP5
26   ACE 2006‐ASP6      ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                        Equity Loan Trust, Series   America
                        2006‐ASP6
27   ACE 2006‐CW1       ACE Securities Corp. Home   BlackRock ‐ BlackRock Balanced Capital Portfolio (FI)
                        Equity Loan Trust, Series
                        2006‐CW1
                                                    BlackRock ‐ BlackRock Dynamic High Income – Structured
                                                    Credit Portfolio
                                                    BlackRock ‐ BlackRock Master Total Return Portfolio of
                                                    Master Bond LLC
                                                    BlackRock ‐ BlackRock Multi‐Asset Income – Non‐Agency
                                                    MBS Portfolio
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     Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                             Issuing Trusts
                                                    BlackRock ‐ BlackRock Strategic Income Opportunities
                                                    Portfolio
                                                    BlackRock ‐ BlackRock Total Return Portfolio (Ins – Series)
                                                    PIMCO ‐ Fixed Income SHares: Series M
                                                    PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                    Income Bond Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                    Credit Absolute Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
28   ACE 2006‐FM2       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                        Equity Loan Trust, Series   Diversified Income Fund
                        2006‐FM2
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                    Corporate Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
29   ACE 2006‐HE1       ACE Securities Corp. Home   BlackRock ‐ BlackRock Multi‐Sector Income Trust
                        Equity Loan Trust, Series
                        2006‐HE1
                                                    PIMCO ‐ Fixed Income SHares: Series M
                                                    PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Duration Hedged Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
30   ACE 2006‐NC2       ACE Securities Corp. Home   DZ Bank AG
                        Equity Loan Trust, Series
                        2006‐NC2
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Tactical Opportunities Master Fund Ltd.
31   ACE 2006‐NC3       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                        Equity Loan Trust, Series
                        2006‐NC3
                                                    PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                    Global Aggregate Bond Segregated Portfolio
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                    Income Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                    Corporate Bond Fund
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     Abbr. Trust Name      Full Legal Name of                    Representative Plaintiff
                             Issuing Trusts
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Global Income Opportunities Fund
                                                    Prudential ‐ The Prudential Insurance Company of
                                                    America
32   ACE 2006‐OP1       ACE Securities Corp. Home   Brookfield ‐ Brookfield Mortgage Opportunity Income
                        Equity Loan Trust, Series   Fund Inc.
                        2006‐OP1
                                                    Kore Advisors LP
33   ACE 2006‐OP2       ACE Securities Corp. Home   Prudential ‐ The Prudential Insurance Company of
                        Equity Loan Trust, Series   America
                        2006‐OP2
34   ACE 2006‐SD1       ACE Securities Corp. Home   PIMCO ‐ Fixed Income SHares: Series M
                        Equity Loan Trust, Series
                        2006‐SD1
                                                    PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Low Volatility RAFI®‐PLUS
                                                    AR Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
35   ACE 2006‐SD2       ACE Securities Corp. Home   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                        Equity Loan Trust, Series   Credit Absolute Return Fund
                        2006‐SD2
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
36   ACE 2006‐SD3       ACE Securities Corp. Home   Kore Advisors LP
                        Equity Loan Trust, Series
                        2006‐SD3
37   ACE 2007‐ASP1      ACE Securities Corp. Home   Kore Advisors LP
                        Equity Loan Trust, Series
                        2007‐ASP1
                                                    Sealink Funding Limited
38   ARMT 2004‐5        Adjustable Rate Mortgage    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                        Trust 2004‐5                Fund
39   BCAP 2006‐AA2      BCAP LLC Trust, 2006‐AA2    PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                    Strategy Fund®
                                                    PIMCO ‐ PIMCO Funds: PIMCO Emerging Local Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                    Bond Portfolio (Unhedged)
40   BCAP 2007‐AA5      BCAP LLC Trust, 2007‐AA5    PIMCO ‐ Fixed Income SHares: Series M
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     Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                             Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Unconstrained Bond Fund
41   CARR 2007‐HE1      Carrington Mortgage Loan     PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                        Trust, Series 2007‐HE1       LDC
                                                     PIMCO ‐ PIMCO Absolute Return Strategy III Master Fund
                                                     LDC
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets
                                                     Currency Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Small Company
                                                     Fundamental IndexPLUS® AR Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Mortgage Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Short‐Term Portfolio
                                                     PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                     Strategy IV eFund
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Short‐
                                                     Term Portfolio
42   CMLTI 2004‐HYB3    Citigroup Mortgage Loan      PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                        Trust, Series 2004‐HYB3      Exchange‐Traded Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
43   DBALT 2005‐1       Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                        Inc. Mortgage Loan Trust,    IndexPLUS® AR Strategy Fund
                        Series 2005‐1
                                                     PIMCO ‐ PIMCO Funds: PIMCO Small Company
                                                     Fundamental IndexPLUS® AR Strategy Fund
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                     Return Portfolio
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
44   DBALT 2005‐3       Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                        Inc. Mortgage Loan Trust,    Short‐Term Portfolio
                        Series 2005‐3
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
45   DBALT 2005‐5       Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                        Inc. Mortgage Loan Trust,    Fund
                        Series 2005‐5
46   DBALT 2005‐6       Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                        Inc. Mortgage Loan Trust,
                        Series 2005‐6
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
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     Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                             Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                     (Unhedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
47   DBALT 2005‐AR1     Deutsche Alt‐A Securities,   Kore Advisors LP
                        Inc. Mortgage Loan Trust,
                        Series 2005‐AR1
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                     Credit Absolute Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
48   DBALT 2005‐AR2     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                        Inc. Mortgage Loan Trust,    Bond Fund
                        Series 2005‐AR2
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
49   DBALT 2006‐AB1     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                        Inc. Mortgage Loan Trust,    LDC
                        Series 2006‐AB1
                                                     PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                     PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                     PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                     Strategy Bond Fund
                                                     PIMCO ‐ PIMCO High Income Fund
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                     Advantage Strategy Bond Portfolio
                                                     TIAA‐CREF ‐ TIAA Global Public Investments, MBS LLC
50   DBALT 2006‐AB2     Deutsche Alt‐A Securities,   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AB2
51   DBALT 2006‐AB3     Deutsche Alt‐A Securities,   PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AB3
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                     (Unhedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Income Opportunity Fund
52   DBALT 2006‐AB4     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                        Inc. Mortgage Loan Trust,    Bond Fund
                        Series 2006‐AB4
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     Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                             Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                     (Unhedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     International Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Mortgage Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Short‐Term Portfolio
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                     Bond Portfolio (Unhedged)
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Real
                                                     Return Portfolio
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
53   DBALT 2006‐AR1     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                        Inc. Mortgage Loan Trust,    IndexPLUS® AR Strategy Fund
                        Series 2006‐AR1
                                                     PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                     Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
54   DBALT 2006‐AR3     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AR3
55   DBALT 2006‐AR4     Deutsche Alt‐A Securities,   Sealink Funding Limited
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AR4
56   DBALT 2006‐AR5     Deutsche Alt‐A Securities,   BlackRock ‐ BlackRock Income Trust, Inc.
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AR5
                                                     Kore Advisors LP
                                                     PIMCO ‐ PIMCO Dynamic Income Fund
57   DBALT 2006‐AR6     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        Inc. Mortgage Loan Trust,
                        Series 2006‐AR6
                                                     Sealink Funding Limited
58   DBALT 2007‐1       Deutsche Alt‐A Securities,   PIMCO ‐ LVS II LLC
                        Inc. Mortgage Loan Trust,
                        Series 2007‐1
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     Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                             Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                     Corporate Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     Sealink Funding Limited
59   DBALT 2007‐AB1     Deutsche Alt‐A Securities,   PIMCO ‐ Fixed Income SHares: Series M
                        Inc. Mortgage Loan Trust,
                        Series 2007‐AB1
                                                     PIMCO ‐ LVS II LLC
                                                     PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                     Income Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Inflation Response Multi‐
                                                     Asset Fund
60   DBALT 2007‐AR1     Deutsche Alt‐A Securities,   Kore Advisors LP
                        Inc. Mortgage Loan Trust,
                        Series 2007‐AR1
                                                     PIMCO ‐ Fixed Income SHares: Series M
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO EM Fundamental
                                                     IndexPLUS® AR Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     Sealink Funding Limited
61   DBALT 2007‐AR2     Deutsche Alt‐A Securities,   PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                        Inc. Mortgage Loan Trust,    LDC
                        Series 2007‐AR2
                                                     PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     Sealink Funding Limited
62   DBALT 2007‐AR3     Deutsche Alt‐A Securities,   PIMCO ‐ LVS I LLC
                        Inc. Mortgage Loan Trust,
                        Series 2007‐AR3
                                                     PIMCO ‐ LVS II LLC
                                                     PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                     Advantage Bond Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Small Cap StocksPLUS® AR
                                                     Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
63   DBALT 2007‐BAR1    Deutsche Alt‐A Securities,   Sealink Funding Limited
                        Inc. Mortgage Loan Trust,
                        Series 2007‐BAR1
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     Abbr. Trust Name      Full Legal Name of                       Representative Plaintiff
                             Issuing Trusts
64   DBALT 2007‐OA1     Deutsche Alt‐A Securities,    PIMCO ‐ PIMCO Absolute Return Strategy IV IDF LLC
                        Inc. Mortgage Loan Trust,
                        Series 2007‐OA1
                                                      PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                      LDC
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Income Opportunity Fund
                                                      Sealink Funding Limited
65   DBALT 2007‐OA2     Deutsche Alt‐A Securities,    Sealink Funding Limited
                        Inc. Mortgage Loan Trust,
                        Series 2007‐OA2
66   DMSI 2004‐1        Mortgage Loan Trust, Series   BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                        2004‐1                        Fund Ltd.
                                                      PIMCO ‐ PIMCO Income Opportunity Fund
67   DMSI 2004‐4        Mortgage Loan Trust, Series   PIMCO ‐ LVS I LLC
                        2004‐4
                                                      PIMCO ‐ LVS II LLC
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
68   DMSI 2004‐5        Mortgage Loan Trust, Series   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                        2004‐5
69   DMSI 2006‐PR1      Mortgage Loan Trust, Series   Sealink Funding Limited
                        2006‐PR1
70   ELAT 2007‐1        Ellington Loan Acquisition    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                        Trust 2007‐1                  Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Investment Grade Credit Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                      Credit Absolute Return Fund
71   ELAT 2007‐2        Ellington Loan Acquisition    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                        Trust 2007‐2
72   FBRSI 2005‐1       FBR Securitization Trust      DZ Bank AG
                        2005‐1
73   FBRSI 2005‐2       FBR Securitization Trust      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        2005‐2
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Asset‐Backed Securities Portfolio
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Short‐Term Portfolio
                                                      Prudential ‐ Prudential Trust Company
                                                      Prudential ‐ The Prudential Investment Portfolios, Inc. 17
                                                      Prudential ‐ The Prudential Series Fund
74   FFML 2004‐FFC      First Franklin Mortgage       PIMCO ‐ Pacific Bay CDO, Ltd.
                        Loan Trust 2004‐FFC
                                                      PIMCO ‐ Pacific Shores CDO, Ltd.
75   FHLT 2004‐A        Fremont Home Loan Trust       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        2004‐A
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     Abbr. Trust Name      Full Legal Name of                   Representative Plaintiff
                             Issuing Trusts
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
76   FHLT 2004‐B        Fremont Home Loan Trust   Prudential ‐ The Prudential Insurance Company of
                        2004‐B                    America
                                                  Prudential ‐ The Prudential Investment Portfolios 2
77   FHLT 2004‐C        Fremont Home Loan Trust   Prudential ‐ The Prudential Investment Portfolios 2
                        2004‐C
                                                  Prudential ‐ The Prudential Investment Portfolios, Inc. 17
78   FHLT 2004‐D        Fremont Home Loan Trust   Prudential ‐ Prudential Trust Company
                        2004‐D
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
79   FHLT 2005‐A        Fremont Home Loan Trust   Prudential ‐ The Prudential Insurance Company of
                        2005‐A                    America
80   FHLT 2005‐B        Fremont Home Loan Trust   BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                        2005‐B                    Fund Ltd.
                                                  PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                                                  Fund Ltd.
                                                  TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
81   FHLT 2005‐C        Fremont Home Loan Trust   PIMCO ‐ Fixed Income SHares: Series M
                        2005‐C
                                                  PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                  Advantage Real Return Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                  Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                  Strategy Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Real Estate Real Return
                                                  Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                  LDC
                                                  Prudential ‐ Prudential Retirement Insurance and Annuity
                                                  Company
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
82   FHLT 2005‐D        Fremont Home Loan Trust   Prudential ‐ The Prudential Insurance Company of
                        2005‐D                    America
83   FHLT 2005‐E        Fremont Home Loan Trust   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                        2005‐E                    Credit Absolute Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                  Strategy Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Worldwide Fundamental
                                                  Advantage AR Strategy Fund
                                                  Sealink Funding Limited
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     Abbr. Trust Name      Full Legal Name of                   Representative Plaintiff
                             Issuing Trusts
84   FHLT 2006‐A        Fremont Home Loan Trust   BlackRock ‐ BlackRock Multi‐Sector Income Trust
                        2006‐A
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                  Strategy Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  Sealink Funding Limited
85   FHLT 2006‐B        Fremont Home Loan Trust   BlackRock ‐ BlackRock Strategic Income Opportunities
                        2006‐B                    Portfolio
                                                  PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                                                  PIMCO ‐ Fixed Income SHares: Series M
                                                  PIMCO ‐ LVS II LLC
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                  Income Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
86   FHLT 2006‐C        Fremont Home Loan Trust   PIMCO ‐ Fixed Income SHares: Series M
                        2006‐C
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                  Income Bond Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Strategic Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
87   FHLT 2006‐D        Fremont Home Loan Trust   BlackRock ‐ BlackRock Multi‐Sector Income Trust
                        2006‐D
                                                  Kore Advisors LP
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
88   FHLT 2006‐E        Fremont Home Loan Trust   PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                        2006‐E
                                                  PIMCO ‐ Fixed Income SHares: Series M
                                                  PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                  Income Bond Fund
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     Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                             Issuing Trusts
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Strategic Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                   IndexPLUS® AR Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                   Corporate Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund II
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® Absolute
                                                   Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund II
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund III
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                   Return Portfolio
89   FMIC 2004‐3        Fieldstone Mortgage        Brookfield ‐ Millerton ABS CDO Ltd.
                        Investment Trust, Series
                        2004‐3
90   FMIC 2004‐4        Fieldstone Mortgage        Brookfield ‐ Millerton ABS CDO Ltd.
                        Investment Trust, Series
                        2004‐4
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
91   FMIC 2004‐5        Fieldstone Mortgage        Brookfield ‐ Millerton ABS CDO Ltd.
                        Investment Trust, Series
                        2004‐5
92   FMIC 2005‐1        Fieldstone Mortgage        Brookfield ‐ Millerton ABS CDO Ltd.
                        Investment Trust, Series
                        2005‐1
93   FMIC 2005‐2        Fieldstone Mortgage        Brookfield ‐ Crystal River Capital Inc.
                        Investment Trust, Series
                        2005‐2
                                                   DZ Bank AG
94   FMIC 2005‐3        Fieldstone Mortgage        TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                        Investment Trust, Series
                        2005‐3
95   FMIC 2006‐1        Fieldstone Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                        Investment Trust, Series
                        2006‐1
96   FMIC 2006‐2        Fieldstone Mortgage        PIMCO ‐ PIMCO Dynamic Credit Income Fund
                        Investment Trust, Series
                        2006‐2
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
97   FMIC 2006‐3        Fieldstone Mortgage        BlackRock ‐ BlackRock Multi‐Sector Income Trust
                        Investment Trust, Series
                        2006‐3
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      Abbr. Trust Name       Full Legal Name of                Representative Plaintiff
                               Issuing Trusts
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                  Strategy Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
98    FNLC 2005‐3        First NLC Trust 2005‐3   PIMCO ‐ Fixed Income SHares: Series C
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                  Strategy Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
99    FNLC 2005‐4        First NLC Trust 2005‐4   PIMCO ‐ LVS II LLC
                                                  PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                  Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
100   FNLC 2007‐1        First NLC Trust 2007‐1   PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                                                  PIMCO ‐ Fixed Income SHares: Series M
                                                  PIMCO ‐ PIMCO Bermuda Trust IV: PIMCO Bermuda
                                                  Global Bond Ex‐Japan Fund
                                                  PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                  Global Aggregate Bond Segregated Portfolio
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                  Income Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Long Duration Total Return
                                                  Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Developing Local Markets Portfolio
                                                  Prudential ‐ The Prudential Insurance Company of
                                                  America
101   GSAA 2005‐12       GSAA Home Equity Trust   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         2005‐12
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
102   GSAA 2005‐15       GSAA Home Equity Trust   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                         2005‐15                  Fund
103   GSAA 2005‐6        GSAA Home Equity Trust   PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                         2005‐6                   Fund Ltd.
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                  Strategy IV eFund
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      Abbr. Trust Name      Full Legal Name of                   Representative Plaintiff
                              Issuing Trusts
104   GSAA 2005‐7        GSAA Home Equity Trust    PIMCO ‐ PIMCO Dynamic Credit Income Fund
                         2005‐7
105   HMAC 2004‐1        Homestar Mortgage         DZ Bank AG
                         Acceptance Corp. 2004‐1
                                                   PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                   Exchange‐Traded Fund
106   HMAC 2004‐3        Homestar Mortgage         PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
                         Acceptance Corp. 2004‐3
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
107   HMAC 2004‐4        Homestar Mortgage         Prudential ‐ Prudential Retirement Insurance and Annuity
                         Acceptance Corp. 2004‐4   Company
108   HMAC 2004‐6        Homestar Mortgage         BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                         Acceptance Corp. 2004‐6   Fund Ltd.
109   LMT 2006‐5         Lehman Mortgage Trust     PIMCO ‐ PIMCO Dynamic Income Fund
                         2006‐5
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
110   LUM 2006‐2         Luminent Mortgage Trust   Aegon ‐ Transamerica Life Insurance Company
                         2006‐2
                                                   Aegon ‐ Transamerica Premier Life Insurance Company
                                                   Kore Advisors LP
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
111   LUM 2006‐4         Luminent Mortgage Trust   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                         2006‐4                    Fund
112   LUM 2006‐6         Luminent Mortgage Trust   PIMCO ‐ Fixed Income SHares: Series M
                         2006‐6
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                   Strategy Fund®
                                                   PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                   Mortgage Portfolio
                                                   PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
113   LUM 2006‐7         Luminent Mortgage Trust   Kore Advisors LP
                         2006‐7
                                                   PIMCO ‐ Fixed Income SHares: Series M
                                                   PIMCO ‐ PCM Fund, Inc.
                                                   PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                   LDC
                                                   PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda
                                                   Emerging Markets Bond Fund (M)
                                                   PIMCO ‐ PIMCO Bermuda Trust: PIMCO Emerging Markets
                                                   Bond Fund (M)
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                   Fund
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      Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                              Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Local Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                     Dollar‐Hedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                     (Unhedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Developing Local Markets Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Emerging Markets Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Mortgage Portfolio
                                                     PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
                                                     PIMCO ‐ PIMCO Strategic Income Fund, Inc.
                                                     Sealink Funding Limited
114   LUM 2007‐1         Luminent Mortgage Trust     Aegon ‐ Transamerica Life Insurance Company
                         2007‐1
                                                     Aegon ‐ Transamerica Premier Life Insurance Company
                                                     DZ Bank AG
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
115   LUM 2007‐2         Luminent Mortgage Trust     BlackRock ‐ BlackRock Funds II, Inflation Protected Bond
                         2007‐2                      Portfolio
                                                     PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                     Fund
116   MANA 2007‐A1       Merrill Lynch Alternative   PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
                         Note Asset Trust, Series
                         2007‐A1
117   MANA 2007‐A2       Merrill Lynch Alternative   Kore Advisors LP
                         Note Asset Trust, Series
                         2007‐A2
                                                     PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                                                     PIMCO ‐ Fixed Income SHares: Series M
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                     IndexPLUS® AR Strategy Fund
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      Abbr. Trust Name      Full Legal Name of                       Representative Plaintiff
                              Issuing Trusts
                                                       PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                       Emerging Markets Portfolio
                                                       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                       Mortgage Portfolio
118   MANA 2007‐AF1      Merrill Lynch Alternative     BlackRock ‐ BlackRock Multi‐Asset Income – Non‐Agency
                         Note Asset Trust, Series      MBS Portfolio
                         2007‐AF1
                                                       PIMCO ‐ Fixed Income SHares: Series M
                                                       PIMCO ‐ LVS I LLC
                                                       PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                       Income Bond Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                       Strategy Fund®
                                                       PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                       Emerging Markets Portfolio
119   MANA 2007‐OAR1     Merrill Lynch Alternative     PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                         Note Asset Trust, Series      LDC
                         2007‐OAR1
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                       Investment Grade Credit Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
120   MANA 2007‐OAR2     Merrill Lynch Alternative     PIMCO ‐ Fixed Income SHares: Series M
                         Note Asset Trust, Series
                         2007‐OAR2
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                       Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Unconstrained Bond Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
121   MHL 2007‐1         MortgageIT Securities Corp.   Sealink Funding Limited
                         Mortgage Loan Trust, Series
                         2007‐1
122   MLCC 2005‐2        Merrill Lynch Mortgage        PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                         Investors Trust, Series
                         2005‐2
                                                       PIMCO ‐ Fixed Income SHares (Series R)
                                                       PIMCO ‐ Fixed Income SHares: Series M
                                                       PIMCO ‐ PIMCO Absolute Return Strategy III Master Fund
                                                       LDC
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Abbr. Trust Name   Full Legal Name of                Representative Plaintiff
                     Issuing Trusts
                                        PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda JGB
                                        Floater Foreign Strategy Fund
                                        PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                        Japan Low Duration Segregated Portfolio
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                        Aggregate Bond Fund
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                        Aggregate Ex‐Japan (Yen‐Hedged) Bond Fund II
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                        Aggregate Ex‐Japan Bond Fund
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                        Bond (NZD‐Hedged) Fund
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global Ex‐
                                        Japan (Yen‐Hedged) Bond Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                        Diversified Income Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                        Bond Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                        Investment Grade Credit Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                        Return Bond Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                        Unconstrained Bond Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                        Strategy Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                        Strategy Fund®
                                        PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                        Dollar‐Hedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                        Strategy Bond Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                        (Unhedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO GNMA Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Inflation Response Multi‐
                                        Asset Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                        IndexPLUS® AR Strategy Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                        AR Strategy Fund (U.S. Dollar‐Hedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO Long Duration Total Return
                                        Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                        Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Real Estate Real Return
                                        Strategy Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
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      Abbr. Trust Name       Full Legal Name of                  Representative Plaintiff
                               Issuing Trusts
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund III
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Tax
                                                    Managed Bond Fund
                                                    PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                    Asset‐Backed Securities Portfolio
                                                    PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                    Developing Local Markets Portfolio
                                                    PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
                                                    PIMCO ‐ PIMCO Offshore Funds: PIMCO Offshore Funds ‐
                                                    PIMCO Absolute Return Strategy V Alpha Fund
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO
                                                    Commodity Real Return Strategy Portfolio
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Foreign
                                                    Bond Portfolio (U.S. Dollar Hedged)
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                    Duration Portfolio
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Real
                                                    Return Portfolio
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Short‐
                                                    Term Portfolio
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                    Return Portfolio
123   MLCC 2006‐2        Merrill Lynch Mortgage     PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                         Investors Trust, Series    Strategy Fund
                         2006‐2
                                                    PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                    Strategy Fund®
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
124   MLCC 2007‐2        Merrill Lynch Mortgage     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                         Investors Trust, Series    (Unhedged)
                         2007‐2
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
125   MLMBS 2007‐1       Merrill Lynch Mortgage     PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                         Backed Securities Trust,
                         2007‐1
                                                    PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Bermuda Trust: PIMCO Emerging Markets
                                                    Bond Fund (M)
                                                    PIMCO ‐ PIMCO Combined Alpha Strategies Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                    Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                    Strategy Fund®
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      Abbr. Trust Name       Full Legal Name of                  Representative Plaintiff
                               Issuing Trusts
                                                    PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                    (Unhedged)
                                                    PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                    Developing Local Markets Portfolio
                                                    PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                    Emerging Markets Portfolio
                                                    PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO High Income Fund
                                                    PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                    Bond Portfolio (Unhedged)
126   MLMBS 2007‐2       Merrill Lynch Mortgage     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities Trust,
                         2007‐2
127   MLMBS 2007‐3       Merrill Lynch Mortgage     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities Trust,
                         2007‐3
128   MLMI 2005‐A10      Merrill Lynch Mortgage     PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                         Investors Trust, Series
                         2005‐A10
                                                    PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                    LDC
                                                    PIMCO ‐ PIMCO Distressed Senior Credit Opportunities
                                                    Fund II, L.P.
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    StocksPLUS™ Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                                    Return Bond Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                    Dollar‐Hedged)
                                                    PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                    Strategy Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                    (Unhedged)
                                                    PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                    IndexPLUS® AR Strategy Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                                    AR Strategy Fund (U.S. Dollar‐Hedged)
                                                    PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                                    AR Strategy Fund (Unhedged)
                                                    PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                    Corporate Bond Fund
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      Abbr. Trust Name      Full Legal Name of                  Representative Plaintiff
                              Issuing Trusts
                                                   PIMCO ‐ PIMCO Funds: PIMCO Long Duration Total Return
                                                   Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Moderate Duration Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® Absolute
                                                   Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                   Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                   Strategy IV eFund
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                   Bond Portfolio (Unhedged)
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                   Duration Portfolio
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Real
                                                   Return Portfolio
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                   Return Portfolio
129   MLMI 2005‐WMC1     Merrill Lynch Mortgage    DZ Bank AG
                         Investors Trust, Series
                         2005‐WMC1
                                                   Prudential ‐ Prudential Trust Company
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
130   MLMI 2006‐A1       Merrill Lynch Mortgage    Aegon ‐ Transamerica Life Insurance Company
                         Investors Trust, Series
                         2006‐A1
                                                   Aegon ‐ Transamerica Premier Life Insurance Company
                                                   PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                   PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Income Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                   Strategy Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund II
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                   Advantage Strategy Bond Portfolio
131   MLMI 2006‐A2       Merrill Lynch Mortgage    PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                         Investors Trust, Series   Fund
                         2006‐A2
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      Abbr. Trust Name      Full Legal Name of                       Representative Plaintiff
                              Issuing Trusts
132   MLMI 2006‐A3       Merrill Lynch Mortgage        BlackRock ‐ BlackRock Core Bond Trust
                         Investors Trust, Series
                         2006‐A3
                                                       PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                       LDC
                                                       PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                       Exchange‐Traded Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Duration Hedged Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                       Investment Grade Credit Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                       IndexPLUS® AR Strategy Fund
133   MSM 2004‐2AR       Morgan Stanley Mortgage       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                         Loan Trust 2004‐2AR           Short‐Term Portfolio
134   NAA 2005‐AP2       Nomura Asset Acceptance       PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                         Corporation, Alternative
                         Loan Trust, Series 2005‐AP2
                                                       PIMCO ‐ PIMCO Funds: PIMCO Fundamental Advantage
                                                       Absolute Return Strategy Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                                       AR Strategy Fund (Unhedged)
                                                       PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                       Strategy Fund
                                                       PIMCO ‐ PIMCO Income Strategy Fund II
135   NAA 2005‐AR3       Nomura Asset Acceptance       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                         Corporation, Alternative      Fund
                         Loan Trust, Series 2005‐AR3
                                                       PIMCO ‐ PIMCO Funds: PIMCO Small Company
                                                       Fundamental IndexPLUS® AR Strategy Fund
136   NAA 2005‐AR4       Nomura Asset Acceptance       PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                         Corporation, Alternative      LDC
                         Loan Trust, Series 2005‐AR4
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Duration Hedged Fund
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                       (Unhedged)
                                                       PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
137   NAA 2005‐AR5       Nomura Asset Acceptance       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                         Corporation, Alternative      Bond Fund
                         Loan Trust, Series 2005‐AR5
                                                       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                       Unconstrained Bond Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                       (Unhedged)
                                                       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
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      Abbr. Trust Name      Full Legal Name of                        Representative Plaintiff
                              Issuing Trusts
                                                       PIMCO ‐ PIMCO Funds: PIMCO Long‐Term U.S.
                                                       Government Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                       International Portfolio
                                                       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                       Short‐Term Portfolio
                                                       PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                       Bond Portfolio (Unhedged)
138   NAA 2005‐AR6       Nomura Asset Acceptance       PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                         Corporation, Alternative      Fund
                         Loan Trust, Series 2005‐AR6
139   NAA 2005‐WF1       Nomura Asset Acceptance       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Corporation, Alternative
                         Loan Trust, Series 2005‐
                         WF1
                                                       TIAA‐CREF ‐ TIAA Global Public Investments, MBS LLC
140   NAA 2006‐AF1       Nomura Asset Acceptance       Aegon ‐ Stonebridge Life Insurance Company
                         Corporation, Alternative
                         Loan Trust, Series 2006‐AF1
                                                       Aegon ‐ Transamerica Life Insurance Company
                                                       Aegon ‐ Transamerica Premier Life Insurance Company
                                                       BlackRock ‐ BlackRock Multi‐Sector Income Trust
141   NAA 2006‐AR1       Nomura Asset Acceptance       PIMCO ‐ Fixed Income SHares: Series M
                         Corporation, Alternative
                         Loan Trust, Series 2006‐AR1
                                                       PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                       (Unhedged)
                                                       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
142   NAA 2006‐S1        Nomura Asset Acceptance       PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                         Corporation, Alternative      Asset‐Backed Securities Portfolio
                         Loan Trust, Series 2006‐S1
143   NAA 2007‐1         Nomura Asset Acceptance       Aegon ‐ LIICA Re I, Inc.
                         Corporation, Alternative
                         Loan Trust, Series 2007‐1
                                                       Aegon ‐ LIICA Re II, Inc.
                                                       Aegon ‐ Transamerica Life Insurance Company
                                                       Aegon ‐ Transamerica Premier Life Insurance Company
                                                       PIMCO ‐ AST PIMCO Total Return Bond Portfolio
                                                       PIMCO ‐ PIMCO Dynamic Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                       Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                       (Unhedged)
                                                       PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                       PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Mortgage Portfolio
144   NAA 2007‐2         Nomura Asset Acceptance      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                         Corporation, Alternative
                         Loan Trust, Series 2007‐2
                                                      Sealink Funding Limited
145   NAA 2007‐S1        Nomura Asset Acceptance      Aegon ‐ Transamerica Life Insurance Company
                         Corporation, Alternative
                         Loan Trust, Series 2007‐S1
146   NHELI 2005‐FM1     Nomura Home Equity Loan,     BlackRock ‐ BlackRock Long Duration AlphaPlus Bond
                         Inc., Home Equity Loan       Fund
                         Trust, Series 2005‐FM1
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Duration Hedged Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
147   NHELI 2005‐HE1     Nomura Home Equity Loan,     PIMCO ‐ Fixed Income SHares: Series C
                         Inc., Home Equity Loan
                         Trust, Series 2005‐HE1
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Unconstrained Bond Segregated Portfolio
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Investment Grade Credit Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                      Fund
148   NHELI 2006‐AF1     Nomura Home Equity Loan,     PIMCO ‐ PIMCO Dynamic Credit Income Fund
                         Inc., Home Equity Loan
                         Trust, Series 2006‐AF1
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
149   NHELI 2006‐FM1     Nomura Home Equity Loan,     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Inc., Home Equity Loan
                         Trust, Series 2006‐FM1
150   NHELI 2006‐HE1     Nomura Home Equity Loan,     BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                         Inc., Home Equity Loan       Fund Ltd.
                         Trust, Series 2006‐HE1
                                                      PIMCO ‐ Fixed Income SHares: Series M
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                      Bond Fund
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      Abbr. Trust Name      Full Legal Name of                    Representative Plaintiff
                              Issuing Trusts
                                                    PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                    Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO EM Fundamental
                                                    IndexPLUS® AR Strategy Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                    Fund
                                                    Prudential ‐ The Prudential Insurance Company of
                                                    America
151   NHELI 2006‐HE2     Nomura Home Equity Loan,   Aegon ‐ Transamerica Life Insurance Company
                         Inc., Home Equity Loan
                         Trust, Series 2006‐HE2
                                                    Aegon ‐ Transamerica Premier Life Insurance Company
152   NHELI 2006‐HE3     Nomura Home Equity Loan,   Prudential ‐ The Prudential Insurance Company of
                         Inc., Home Equity Loan     America
                         Trust, Series 2006‐HE3
153   NHELI 2007‐1       Nomura Home Equity Loan,   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                         Inc., Home Equity Loan     Income Bond Fund
                         Trust, Series 2007‐1
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                    Dividend and Income Builder Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                    Sealink Funding Limited
154   OOMLT 2007‐HL1     Option One Mortgage Loan   Aegon ‐ Transamerica Life Insurance Company
                         Trust 2007‐HL1
155   OPMAC 2005‐1       Opteum Mortgage            PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                         Acceptance Corporation
                         Trust Series 2005‐1
                                                    TIAA‐CREF ‐ TIAA‐CREF Bond Plus Fund
                                                    TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                                                    TIAA‐CREF ‐ TIAA‐CREF Short‐Term Bond Fund
156   OPMAC 2005‐2       Opteum Mortgage            Prudential ‐ The Prudential Insurance Company of
                         Acceptance Corporation     America
                         Trust Series 2005‐2
157   OPMAC 2005‐4       Opteum Mortgage            PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                         Acceptance Corporation     Investment Grade Credit Fund
                         Trust Series 2005‐4
                                                    PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
158   OPMAC 2005‐5       Opteum Mortgage            PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                         Acceptance Corporation     LDC
                         Trust Series 2005‐5
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                                    Return Bond Fund
                                                    PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                    Unconstrained Bond Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                    PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                    Dollar‐Hedged)
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      Abbr. Trust Name       Full Legal Name of                        Representative Plaintiff
                               Issuing Trusts
                                                         PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund III
                                                         PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                         PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                         Duration Portfolio
159   OPMAC 2006‐1       Opteum Mortgage                 PIMCO ‐ PIMCO Distressed Senior Credit Opportunities
                         Acceptance Corporation          Fund II, L.P.
                         Trust Series 2006‐1
160   OPMAC 2006‐2       Opteum Mortgage                 PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
                         Acceptance Corporation
                         Trust Series 2006‐2
161   OWNIT 2005‐2       Ownit Mortgage Loan Trust,      PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                         Series 2005‐2                   Fund
162   OWNIT 2005‐3       Ownit Mortgage Loan Trust,      TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                         Series 2005‐3
163   OWNIT 2005‐5       Ownit Mortgage Loan Trust,      PIMCO ‐ Fixed Income SHares: Series M
                         Series 2005‐5
                                                         PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                         Global Aggregate Bond Segregated Portfolio
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Diversified Income Fund
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                         Credit Absolute Return Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Income Fund
164   PCHLT 2004‐2       People’s Choice Home Loan       Prudential ‐ Prudential Retirement Insurance and Annuity
                         Securities Trust Series 2004‐   Company
                         2
                                                         Prudential ‐ The Prudential Insurance Company of
                                                         America
165   PCHLT 2005‐1       People’s Choice Home Loan       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Securities Trust Series 2005‐   Diversified Income Fund
                         1
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Unconstrained Bond Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                         (Unhedged)
                                                         PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                         Strategy Bond Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
166   PCHLT 2005‐2       People’s Choice Home Loan       PIMCO ‐ Fixed Income SHares: Series M
                         Securities Trust Series 2005‐
                         2
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Diversified Income Fund
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Unconstrained Bond Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Income Fund
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      Abbr. Trust Name       Full Legal Name of                        Representative Plaintiff
                               Issuing Trusts
                                                         PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                         PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                         Asset‐Backed Securities Portfolio
                                                         PIMCO ‐ PIMCO Global Income Opportunities Fund
                                                         PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                         Advantage Strategy Bond Portfolio
167   PCHLT 2005‐3       People’s Choice Home Loan       BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                         Securities Trust Series 2005‐   Fund Ltd.
                         3
168   PFRMS 2006‐1       People’s Financial Realty       PIMCO ‐ Fixed Income SHares: Series M
                         Mortgage Securities Trust,
                         Series 2006‐1
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Diversified Income Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                         Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                         PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
169   PHHAM 2007‐1       PHH Alternative Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                         Trust, Series 2007‐1
170   PHHAM 2007‐2       PHH Alternative Mortgage        PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                         Trust, Series 2007‐2            Advantage Strategy Bond Portfolio
                                                         Sealink Funding Limited
171   PHHMC 2008‐CIM2    PHHMC Series 2008‐CIM2          Prudential ‐ Prudential Retirement Insurance and Annuity
                                                         Company
172   RAMC 2004‐4        Renaissance Home Equity         Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2004‐4
                                                         Aegon ‐ Transamerica Premier Life Insurance Company
173   RAMC 2005‐1        Renaissance Home Equity         Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2005‐1
                                                         Aegon ‐ Transamerica Premier Life Insurance Company
174   RAMC 2005‐2        Renaissance Home Equity         Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2005‐2
                                                         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                         Strategic Income Fund
                                                         PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                         Asset‐Backed Securities Portfolio
                                                         Prudential ‐ Prudential Retirement Insurance and Annuity
                                                         Company
175   RAMC 2005‐4        Renaissance Home Equity         Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2005‐4
                                                         Aegon ‐ Transamerica Premier Life Insurance Company
                                                         PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                         TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
176   RAMC 2006‐1        Renaissance Home Equity         Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2006‐1
                                                         Kore Advisors LP
                                                         TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
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                              Issuing Trusts
177   RAMC 2006‐2        Renaissance Home Equity   Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2006‐2
                                                   Kore Advisors LP
                                                   PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                   Strategy Bond Fund
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
178   RAMC 2006‐3        Renaissance Home Equity   Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2006‐3
                                                   Aegon ‐ Transamerica Premier Life Insurance Company
                                                   PIMCO ‐ Fixed Income SHares: Series M
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Income Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                   Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund III
                                                   PIMCO ‐ PIMCO High Income Fund
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                   Return Portfolio
                                                   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
179   RAMC 2006‐4        Renaissance Home Equity   Prudential ‐ The Prudential Insurance Company of
                         Loan Trust 2006‐4         America
180   RAMC 2007‐1        Renaissance Home Equity   Aegon ‐ Transamerica Life Insurance Company
                         Loan Trust 2007‐1
                                                   PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda
                                                   Income Fund (M)
                                                   PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                   Credit Absolute Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
181   RAMC 2007‐2        Renaissance Home Equity   Aegon ‐ LIICA Re I, Inc.
                         Loan Trust 2007‐2
                                                   Aegon ‐ LIICA Re II, Inc.
                                                   Aegon ‐ Transamerica Life Insurance Company
                                                   Aegon ‐ Transamerica Premier Life Insurance Company
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Income Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                   Fund
182   RAMC 2007‐3        Renaissance Home Equity   BlackRock ‐ BlackRock Multi‐Sector Income Trust
                         Loan Trust 2007‐3
                                                   PIMCO ‐ Fixed Income SHares: Series M
                                                   PIMCO ‐ PCM Fund, Inc.
                                                   PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Income Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                   Asset‐Backed Securities Portfolio
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Short‐Term Portfolio
                                                      PIMCO ‐ PIMCO High Income Fund
183   SARM 2004‐1        Structured Adjustable Rate   PIMCO ‐ Fixed Income SHares: Series C
                         Mortgage Loan Trust 2004‐
                         1
                                                      PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                                                      LDC
                                                      PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda JGB
                                                      Floater Foreign Strategy Fund
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan CorePLUS Segregated Portfolio
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan CorePLUS Strategy Segregated Portfolio
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan Low Duration Segregated Portfolio
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan (Yen‐Hedged) Bond Fund II
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Bond (NZD‐Hedged) Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman U.S. Bond
                                                      Fund
                                                      PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                      Exchange‐Traded Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      StocksPLUS™ Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund III
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                      Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Asset‐Backed Securities Portfolio
                                                      PIMCO ‐ PIMCO Large Cap StocksPLUS Absolute Return
                                                      Fund
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO
                                                      Commodity Real Return Strategy Portfolio
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                      Bond Portfolio (Unhedged)
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                      Duration Portfolio
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Real
                                                      Return Portfolio
                                                      Prudential ‐ Prudential Trust Company
                                                      Prudential ‐ The Prudential Insurance Company of
                                                      America
                                                      Prudential ‐ The Prudential Investment Portfolios Inc.
                                                      Prudential ‐ The Prudential Investment Portfolios, Inc. 17
                                                      Prudential ‐ The Prudential Series Fund
184   SARM 2004‐12       Structured Adjustable Rate   PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                         Mortgage Loan Trust 2004‐    LDC
                         12
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan Low Duration Segregated Portfolio
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global Ex‐
                                                      Japan (Yen‐Hedged) Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Investment Grade Credit Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Long Duration Corporate Bond Portfolio
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Short‐Term Portfolio
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                      Bond Portfolio (Unhedged)
                                                      Prudential ‐ Prudential Retirement Insurance and Annuity
                                                      Company
185   SARM 2004‐14       Structured Adjustable Rate   PIMCO ‐ Fixed Income SHares: Series M
                         Mortgage Loan Trust 2004‐
                         14
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
186   SARM 2004‐4        Structured Adjustable Rate   PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda JGB
                         Mortgage Loan Trust 2004‐    Floater Foreign Strategy Fund
                         4
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan Low Duration Segregated Portfolio
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Foreign
                                                      Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan (Yen‐Hedged) Bond Fund II
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan (Yen‐Hedged) Income Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Aggregate Ex‐Japan Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                                      Bond (NZD‐Hedged) Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global Ex‐
                                                      Japan (Yen‐Hedged) Bond Fund
                                                      PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman U.S. Bond
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Investment Grade Credit Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Asset‐Backed Securities Portfolio
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Foreign
                                                      Bond Portfolio (U.S. Dollar Hedged)
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                      Bond Portfolio (Unhedged)
187   SARM 2004‐7        Structured Adjustable Rate   PIMCO ‐ Fixed Income SHares: Series M
                         Mortgage Loan Trust 2004‐
                         7
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Asset‐Backed Securities Portfolio
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Mortgage Portfolio
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
188   SARM 2005‐1        Structured Adjustable Rate   PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                         Mortgage Loan Trust 2005‐    Exchange‐Traded Fund
                         1
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                      Fund
189   SARM 2005‐18       Structured Adjustable Rate   PIMCO ‐ PIMCO Bermuda Trust IV: PIMCO Bermuda
                         Mortgage Loan Trust 2005‐    Global Bond Ex‐Japan Fund
                         18
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Strategic Income Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                      Dollar‐Hedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                      IndexPLUS® AR Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
190   SARM 2005‐21       Structured Adjustable Rate   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Mortgage Loan Trust 2005‐    Diversified Income Fund
                         21
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Mortgage Portfolio
191   SARM 2005‐4        Structured Adjustable Rate   PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                         Mortgage Loan Trust 2005‐    Exchange‐Traded Fund
                         4
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Worldwide Fundamental
                                                      Advantage AR Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Short‐Term Portfolio
192   SARM 2005‐7        Structured Adjustable Rate   PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                         Mortgage Loan Trust 2005‐    LDC
                         7
                                                      PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                      LDC
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Unconstrained Bond Segregated Portfolio
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                      Investment Grade Credit Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                      Strategy Fund®
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Small Cap StocksPLUS® AR
                                                      Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Offshore Funds: PIMCO Offshore Funds ‐
                                                      PIMCO Absolute Return Strategy V Alpha Fund
193   SARM 2007‐5        Structured Adjustable Rate   Charles Schwab & Co. Inc.
                         Mortgage Loan Trust 2007‐
                         5
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Duration Hedged Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                      Strategy Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                      Advantage Strategy Bond Portfolio
194   SARM 2007‐9        Structured Adjustable Rate   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Mortgage Loan Trust 2007‐    Diversified Income Fund
                         9
                                                      PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                      (Unhedged)
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Mortgage Portfolio
195   SEMT 2004‐1        Sequoia Mortgage Trust       PIMCO ‐ PIMCO Dynamic Credit Income Fund
                         2004‐1
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                      Asset‐Backed Securities Portfolio
196   SEMT 2004‐10       Sequoia Mortgage Trust       Aegon ‐ Transamerica Life Insurance Company
                         2004‐10
                                                      DZ Bank AG
                                                      PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                      Exchange‐Traded Fund
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      Abbr. Trust Name      Full Legal Name of                 Representative Plaintiff
                              Issuing Trusts
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
197   SEMT 2004‐11       Sequoia Mortgage Trust   DZ Bank AG
                         2004‐11
                                                  Kore Advisors LP
                                                  PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                  Exchange‐Traded Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  StocksPLUS™ Fund
198   SEMT 2004‐12       Sequoia Mortgage Trust   PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                         2004‐12                  Exchange‐Traded Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
199   SEMT 2004‐3        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                         2004‐3                   Japan Low Duration Segregated Portfolio
                                                  PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                  IndexPLUS® AR Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Small Company
                                                  Fundamental IndexPLUS® AR Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Short‐Term Portfolio
200   SEMT 2004‐4        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                         2004‐4                   Investment Grade Credit Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Long‐Term Credit Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
201   SEMT 2004‐5        Sequoia Mortgage Trust   DZ Bank AG
                         2004‐5
                                                  PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                                                  Fund Ltd.
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
202   SEMT 2004‐6        Sequoia Mortgage Trust   PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                         2004‐6                   Exchange‐Traded Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Short‐Term Portfolio
203   SEMT 2004‐7        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         2004‐7
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
204   SEMT 2004‐8        Sequoia Mortgage Trust   Aegon ‐ Transamerica Life Insurance Company
                         2004‐8
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
205   SEMT 2004‐9        Sequoia Mortgage Trust   DZ Bank AG
                         2004‐9
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  International Portfolio
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      Abbr. Trust Name      Full Legal Name of                  Representative Plaintiff
                              Issuing Trusts
                                                  TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
206   SEMT 2005‐1        Sequoia Mortgage Trust   DZ Bank AG
                         2005‐1
                                                  PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                  Exchange‐Traded Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Asset‐Backed Securities Portfolio
                                                  PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                  Strategy IV eFund
207   SEMT 2005‐2        Sequoia Mortgage Trust   BlackRock ‐ BlackRock Income Trust, Inc.
                         2005‐2
                                                  DZ Bank AG
                                                  PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                  Unconstrained Bond Segregated Portfolio
                                                  PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Total
                                                  Return Strategy Fund
                                                  PIMCO ‐ PIMCO Combined Alpha Strategies Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                  Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Short‐Term Portfolio
208   SEMT 2005‐3        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                         2005‐3                   Investment Grade Credit Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                  Corporate Bond Fund
209   SEMT 2005‐4        Sequoia Mortgage Trust   Charles Schwab & Co. Inc.
                         2005‐4
                                                  PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Absolute Return Strategy III Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                  Japan CorePLUS Segregated Portfolio
                                                  PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global Ex‐
                                                  Japan (Yen‐Hedged) Bond Fund
                                                  PIMCO ‐ PIMCO ETF Trust: PIMCO Total Return Active
                                                  Exchange‐Traded Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                  Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                  Dollar‐Hedged)
                                                  PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                  (Unhedged)
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund
                                                  (Unhedged)
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Developing Local Markets Portfolio
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      Abbr. Trust Name      Full Legal Name of                 Representative Plaintiff
                              Issuing Trusts
210   SEMT 2006‐1        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         2006‐1
211   SEMT 2007‐1        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                         2007‐1                   Fund Ltd.
                                                  PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Bermuda Trust: PIMCO Emerging Markets
                                                  Bond Fund (M)
                                                  PIMCO ‐ PIMCO Combined Alpha Strategies Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                  Diversified Income Fund
                                                  PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                  Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                  Strategy Fund®
                                                  PIMCO ‐ PIMCO Funds: PIMCO Emerging Local Bond Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Emerging Markets Bond
                                                  Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Fundamental Advantage
                                                  Absolute Return Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Developing Local Markets Portfolio
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Emerging Markets Portfolio
                                                  PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                  Mortgage Portfolio
                                                  PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                  LDC
                                                  PIMCO ‐ PIMCO High Income Fund
212   SEMT 2007‐2        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                         2007‐2
                                                  PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                  IndexPLUS® AR Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                  PIMCO ‐ PIMCO Income Opportunity Fund
213   SEMT 2007‐3        Sequoia Mortgage Trust   PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                         2007‐3                   LDC
                                                  PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                  PIMCO ‐ PIMCO Dynamic Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                  Dollar‐Hedged)
                                                  PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                  IndexPLUS® AR Strategy Fund
                                                  PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                  Fund
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      Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                              Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund IV
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO
                                                     Commodity Real Return Strategy Portfolio
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Real
                                                     Return Portfolio
214   SEMT 2007‐4        Sequoia Mortgage Trust      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         2007‐4
215   SGMS 2005‐OPT1     SG Mortgage Securities      PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                         Trust 2005‐OPT1             Fund
216   SGMS 2006‐FRE1     SG Mortgage Securities      PIMCO ‐ LVS II LLC
                         Trust 2006‐FRE1
                                                     PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                     IndexPLUS® AR Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                                     AR Strategy Fund (Unhedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Small Cap StocksPLUS® AR
                                                     Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                     Return Portfolio
217   SGMS 2006‐OPT2     SG Mortgage Securities      BlackRock ‐ BlackRock Multi‐Asset Income – Non‐Agency
                         Trust 2006‐OPT2             MBS Portfolio
                                                     DZ Bank AG
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
218   STALT 2006‐1F      SunTrust Alternative Loan   PIMCO ‐ PIMCO Dynamic Income Fund
                         Trust 2006‐1F
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     Prudential ‐ The Prudential Series Fund
219   WFALT 2007‐PA1     Wells Fargo Alternative     Sealink Funding Limited
                         Loan 2007‐PA1 Trust
220   WFALT 2007‐PA2     Wells Fargo Alternative     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Loan 2007‐PA2 Trust         Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                     Corporate Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
221   WFALT 2007‐PA3     Wells Fargo Alternative     PIMCO ‐ PCM Fund, Inc.
                         Loan 2007‐PA3 Trust
                                                     PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                     PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                     PIMCO ‐ PIMCO Dynamic Income Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Diversified Income Fund
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      Abbr. Trust Name      Full Legal Name of                  Representative Plaintiff
                              Issuing Trusts
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                   Credit Absolute Return Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                                   Return Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Credit Absolute Return
                                                   Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                   Dollar‐Hedged)
                                                   PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                                   (Unhedged)
                                                   PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                   Dollar‐Hedged)
                                                   PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                   Corporate Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund II
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                   Bond Portfolio (Unhedged)
222   WFALT 2007‐PA4     Wells Fargo Alternative   PIMCO ‐ Fixed Income SHares: Series M
                         Loan 2007‐PA4 Trust
                                                   PIMCO ‐ PIMCO Dynamic Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Investment Grade Credit Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                   IndexPLUS® AR Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
223   WFALT 2007‐PA5     Wells Fargo Alternative   PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                         Loan 2007‐PA5 Trust
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                                   Income Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                   Dividend and Income Builder Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                   Corporate Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
224   WFHET 2004‐2       Wells Fargo Home Equity   DZ Bank AG
                         Asset‐Backed Securities
                         2004‐2 Trust
                                                   PIMCO ‐ Fixed Income SHares: Series C
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                                                   LDC
                                                   Prudential ‐ The Prudential Investment Portfolios 2
                                                   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
225   WFHET 2005‐1       Wells Fargo Home Equity   BlackRock ‐ BlackRock Fixed Income GlobalAlpha Master
                         Asset‐Backed Securities   Fund Ltd.
                         2005‐1 Trust
                                                   DZ Bank AG
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      Abbr. Trust Name      Full Legal Name of                   Representative Plaintiff
                              Issuing Trusts
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
226   WFHET 2005‐2       Wells Fargo Home Equity   PIMCO ‐ Fixed Income SHares: Series M
                         Asset‐Backed Securities
                         2005‐2 Trust
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Investment Grade Credit Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                                   Return Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                   Asset‐Backed Securities Portfolio
227   WFHET 2005‐3       Wells Fargo Home Equity   PIMCO ‐ Fixed Income SHares: Series C
                         Asset‐Backed Securities
                         2005‐3 Trust
                                                   PIMCO ‐ Fixed Income SHares: Series M
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Investment Grade Credit Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                                                   Credit Absolute Return Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Total
                                                   Return Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                   Strategy Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO International StocksPLUS®
                                                   AR Strategy Fund (Unhedged)
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                   Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund III
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                   Return Portfolio
                                                   Prudential ‐ The Prudential Insurance Company of
                                                   America
228   WFHET 2005‐4       Wells Fargo Home Equity   BlackRock ‐ BlackRock Core Active LIBOR Fund B
                         Asset‐Backed Securities
                         2005‐4 Trust
                                                   BlackRock ‐ BlackRock CorePlus Bond Fund B
                                                   PIMCO ‐ PIMCO Dynamic Credit Income Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                   Strategy Fund
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      Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                              Issuing Trusts
229   WFHET 2006‐1       Wells Fargo Home Equity     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Asset‐Backed Securities     Diversified Income Fund
                         2006‐1 Trust
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                     Investment Grade Credit Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                     Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Global Advantage®
                                                     Strategy Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Low
                                                     Duration Portfolio
                                                     Prudential ‐ The Prudential Insurance Company of
                                                     America
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
230   WFHET 2006‐2       Wells Fargo Home Equity     PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda
                         Asset‐Backed Securities     Income Fund (M)
                         2006‐2 Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                                     Strategy Fund
                                                     TIAA‐CREF ‐ CREF Bond Market Account
                                                     TIAA‐CREF ‐ CREF Social Choice Account
                                                     TIAA‐CREF ‐ TIAA‐CREF Bond Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Bond Plus Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Bond Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Short‐Term Bond Fund
231   WFHET 2006‐3       Wells Fargo Home Equity     PIMCO ‐ PIMCO Funds: Global Investors Series plc, PIMCO
                         Asset‐Backed Securities     Credit Absolute Return Fund
                         2006‐3 Trust
                                                     PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                     Strategy IV eFund
                                                     Prudential ‐ The Prudential Insurance Company of
                                                     America
                                                     TIAA‐CREF ‐ TIAA Global Public Investments, MBS LLC
232   WFHET 2007‐1       Wells Fargo Home Equity     PIMCO ‐ LVS I LLC
                         Asset‐Backed Securities
                         2007‐1 Trust
                                                     PIMCO ‐ LVS I SPE XIV LLC
233   WFHET 2007‐2       Wells Fargo Home Equity     PIMCO ‐ PIMCO Global Credit Opportunity Master Fund
                         Asset‐Backed Securities     LDC
                         2007‐2 Trust
234   WFMBS 2006‐10      Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2006‐10
                         Trust
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
235   WFMBS 2006‐11      Wells Fargo Mortgage        PIMCO ‐ PIMCO Dynamic Income Fund
                         Backed Securities 2006‐11
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
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      Abbr. Trust Name      Full Legal Name of                    Representative Plaintiff
                              Issuing Trusts
                                                     PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Short‐Term Portfolio
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
236   WFMBS 2006‐12      Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                         Backed Securities 2006‐12   (Unhedged)
                         Trust
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
237   WFMBS 2006‐13      Wells Fargo Mortgage        TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                         Backed Securities 2006‐13
                         Trust
238   WFMBS 2006‐15      Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2006‐15
                         Trust
239   WFMBS 2006‐19      Wells Fargo Mortgage        TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
                         Backed Securities 2006‐19
                         Trust
240   WFMBS 2006‐6       Wells Fargo Mortgage        PIMCO ‐ PIMCO Distressed Senior Credit Opportunities
                         Backed Securities 2006‐6    Fund II, L.P.
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Offshore Funds: PIMCO Offshore Funds ‐
                                                     PIMCO Absolute Return Strategy V Alpha Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
241   WFMBS 2006‐7       Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2006‐7
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
242   WFMBS 2006‐8       Wells Fargo Mortgage        PIMCO ‐ PIMCO Dynamic Income Fund
                         Backed Securities 2006‐8
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                                     Dollar‐Hedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
243   WFMBS 2006‐9       Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                         Backed Securities 2006‐9
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
244   WFMBS 2006‐AR10    Wells Fargo Mortgage        PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                         Backed Securities 2006‐     Fund Ltd.
                         AR10 Trust
                                                     PIMCO ‐ PIMCO Absolute Return Strategy II Master Fund
                                                     LDC
                                                     PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Diversified Income Fund
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      Abbr. Trust Name      Full Legal Name of                   Representative Plaintiff
                              Issuing Trusts
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Emerging Local Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Emerging Markets Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                   Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                   Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Short‐Term Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                   Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                   Asset‐Backed Securities Portfolio
                                                   PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                   Developing Local Markets Portfolio
                                                   PIMCO ‐ PIMCO Income Strategy Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund II
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO
                                                   Emerging Markets Bond Portfolio
                                                   PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Foreign
                                                   Bond Portfolio (U.S. Dollar Hedged)
                                                   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
245   WFMBS 2006‐AR11    Wells Fargo Mortgage      PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                         Backed Securities 2006‐
                         AR11 Trust
                                                   PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                   PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                                   Investment Grade Credit Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund
                                                   PIMCO ‐ PIMCO Income Strategy Fund II
246   WFMBS 2006‐AR12    Wells Fargo Mortgage      PIMCO ‐ PIMCO Funds: PIMCO Global Multi‐Asset Fund
                         Backed Securities 2006‐
                         AR12 Trust
                                                   PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                   PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                   PIMCO ‐ PIMCO High Income Fund
                                                   PIMCO ‐ PIMCO Income Opportunity Fund
247   WFMBS 2006‐AR13    Wells Fargo Mortgage      PIMCO ‐ PIMCO Income Opportunity Fund
                         Backed Securities 2006‐
                         AR13 Trust
                                                   TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
248   WFMBS 2006‐AR14    Wells Fargo Mortgage         PIMCO ‐ PCM Fund, Inc.
                         Backed Securities 2006‐
                         AR14 Trust
                                                      PIMCO ‐ PIMCO Bermuda Trust II: PIMCO Bermuda
                                                      Income Fund (M)
                                                      PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Strategic Income Fund
                                                      PIMCO ‐ PIMCO Income Opportunity Fund
                                                      PIMCO ‐ PIMCO Strategic Income Fund, Inc.
249   WFMBS 2006‐AR17    Wells Fargo Mortgage         PIMCO ‐ Fixed Income SHares: Series M
                         Backed Securities 2006‐
                         AR17 Trust
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
250   WFMBS 2006‐AR18    Wells Fargo Mortgage         PIMCO ‐ PIMCO Funds: PIMCO Small Company
                         Backed Securities 2006‐      Fundamental IndexPLUS® AR Strategy Fund
                         AR18 Trust
251   WFMBS 2006‐AR19    Wells Fargo Mortgage         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Backed Securities 2006‐      Diversified Income Fund
                         AR19 Trust
                                                      PIMCO ‐ PIMCO Funds: PIMCO Small Cap StocksPLUS® AR
                                                      Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                      Strategy Fund
                                                      TIAA‐CREF ‐ TIAA Global Public Investments, MBS LLC
                                                      TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
252   WFMBS 2006‐AR7     Wells Fargo Mortgage         PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                         Backed Securities 2006‐AR7
                         Trust
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                      IndexPLUS® AR Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                      Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
253   WFMBS 2006‐AR8     Wells Fargo Mortgage         PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                         Backed Securities 2006‐AR8   LDC
                         Trust
                                                      PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                                                      LDC
                                                      PIMCO ‐ PIMCO Bermuda Trust IV: PIMCO Bermuda
                                                      Global Bond Ex‐Japan Fund
                                                      PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                                      Japan CorePLUS Segregated Portfolio
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Abbr. Trust Name   Full Legal Name of                Representative Plaintiff
                     Issuing Trusts
                                        PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                        Japan CorePLUS Strategy Segregated Portfolio
                                        PIMCO ‐ PIMCO Cayman SPC Limited: PIMCO Cayman
                                        Japan Low Duration Segregated Portfolio
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global
                                        Bond (NZD‐Hedged) Fund
                                        PIMCO ‐ PIMCO Cayman Trust: PIMCO Cayman Global Ex‐
                                        Japan (Yen‐Hedged) Bond Fund
                                        PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                        PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                        Diversified Income Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Euro
                                        Bond Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Global
                                        Bond Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                        Fund
                                        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                        Unconstrained Bond Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO CommoditiesPLUS®
                                        Strategy Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                        Strategy Fund®
                                        PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                        Dollar‐Hedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund
                                        (Unhedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO Fundamental Advantage
                                        Absolute Return Strategy Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Global Bond Fund (U.S.
                                        Dollar‐Hedged)
                                        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Inflation Response Multi‐
                                        Asset Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Low Duration Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                        Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                        PIMCO ‐ PIMCO Funds: PIMCO Worldwide Fundamental
                                        Advantage AR Strategy Fund
                                        PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                        International Portfolio
                                        PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                        Short‐Term Portfolio
                                        PIMCO ‐ PIMCO Income Opportunity Fund
                                        PIMCO ‐ PIMCO Income Strategy Fund
                                        PIMCO ‐ PIMCO Income Strategy Fund II
                                        PIMCO ‐ PIMCO Multi‐Sector Strategy Fund Ltd.
                                        PIMCO ‐ PIMCO Strategic Income Fund, Inc.
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      Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                              Issuing Trusts
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Foreign
                                                     Bond Portfolio (U.S. Dollar Hedged)
                                                     PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Global
                                                     Bond Portfolio (Unhedged)
254   WFMBS 2007‐1       Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                         Backed Securities 2007‐1
                         Trust
255   WFMBS 2007‐10      Wells Fargo Mortgage        PIMCO ‐ Fixed Income SHares: Series M
                         Backed Securities 2007‐10
                         Trust
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Emerging Markets Bond Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc, Income
                                                     Fund
                                                     PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                     Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Emerging Local Bond Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Foreign Bond Fund (U.S.
                                                     Dollar‐Hedged)
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund II
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Asset‐Backed Securities Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Mortgage Portfolio
                                                     PIMCO ‐ PIMCO Funds: Private Account Portfolio Series
                                                     Short‐Term Portfolio
                                                     PIMCO ‐ PIMCO Income Opportunity Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
256   WFMBS 2007‐11      Wells Fargo Mortgage        PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                         Backed Securities 2007‐11
                         Trust
                                                     PIMCO ‐ PIMCO Dynamic Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund III
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
257   WFMBS 2007‐12      Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2007‐12
                         Trust
258   WFMBS 2007‐13      Wells Fargo Mortgage        Brookfield ‐ Brookfield Total Return Fund Inc.
                         Backed Securities 2007‐13
                         Trust
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
259   WFMBS 2007‐14      Wells Fargo Mortgage        Aegon ‐ Transamerica Premier Life Insurance Company
                         Backed Securities 2007‐14
                         Trust
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      Abbr. Trust Name      Full Legal Name of                     Representative Plaintiff
                              Issuing Trusts
                                                     PIMCO ‐ PIMCO Absolute Return Strategy IV Master Fund
                                                     LDC
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Offshore Funds ‐ PIMCO Absolute Return
                                                     Strategy IV eFund
260   WFMBS 2007‐15      Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2007‐15
                         Trust
261   WFMBS 2007‐2       Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Backed Securities 2007‐2    Unconstrained Bond Fund
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     PIMCO ‐ PIMCO Global StocksPLUS & Income Fund
                                                     PIMCO ‐ PIMCO Income Strategy Fund
                                                     PIMCO ‐ PIMCO Income Strategy Fund II
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
262   WFMBS 2007‐3       Wells Fargo Mortgage        PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Backed Securities 2007‐3    Unconstrained Bond Fund
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
263   WFMBS 2007‐4       Wells Fargo Mortgage        PIMCO ‐ PIMCO Dynamic Income Fund
                         Backed Securities 2007‐4
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO StocksPLUS® AR Short
                                                     Strategy Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                     TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
264   WFMBS 2007‐5       Wells Fargo Mortgage        PIMCO ‐ PIMCO Absolute Return Strategy V Master Fund
                         Backed Securities 2007‐5    LDC
                         Trust
                                                     PIMCO ‐ PIMCO Funds: PIMCO Commodity Real Return
                                                     Strategy Fund®
                                                     PIMCO ‐ PIMCO Funds: PIMCO Real Return Fund
                                                     Prudential ‐ The Prudential Investment Portfolios, Inc. 17
265   WFMBS 2007‐7       Wells Fargo Mortgage        PIMCO ‐ Fixed Income SHares: Series M
                         Backed Securities 2007‐7
                         Trust
                                                     PIMCO ‐ PIMCO Dynamic Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                     PIMCO ‐ PIMCO Funds: PIMCO Mortgage Opportunities
                                                     Fund
                                                     PIMCO ‐ PIMCO Income Strategy Fund
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      Abbr. Trust Name      Full Legal Name of                      Representative Plaintiff
                              Issuing Trusts
                                                      TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
266   WFMBS 2007‐8       Wells Fargo Mortgage         BlackRock ‐ BlackRock US Mortgage
                         Backed Securities 2007‐8
                         Trust
                                                      Brookfield ‐ Brookfield Total Return Fund Inc.
                                                      PIMCO ‐ PIMCO Corporate & Income Opportunity Fund
                                                      PIMCO ‐ PIMCO Corporate & Income Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                                                      Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Income Strategy Fund
                                                      TIAA‐CREF ‐ TIAA‐CREF Life Insurance Company
267   WFMBS 2007‐AR3     Wells Fargo Mortgage         PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                         Backed Securities 2007‐AR3
                         Trust
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
268   WFMBS 2007‐AR8     Wells Fargo Mortgage         PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Backed Securities 2007‐AR8   Diversified Income Fund
                         Trust
                                                      PIMCO ‐ PIMCO Funds: PIMCO Diversified Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Floating Income Fund
269   WFMBS 2008‐1       Wells Fargo Mortgage         Aegon ‐ Transamerica Life Insurance Company
                         Backed Securities 2008‐1
                         Trust
270   WMLT 2006‐A        Wachovia Mortgage Loan       PIMCO ‐ PIMCO Absolute Return Strategy 3D Offshore
                         Trust, LLC Series 2006‐A     Fund Ltd.
                         Trust
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO International Fundamental
                                                      IndexPLUS® AR Strategy Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Investment Grade
                                                      Corporate Bond Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
                                                      PIMCO ‐ PIMCO Variable Insurance Trust: PIMCO Total
                                                      Return Portfolio
271   WMLT 2007‐A        Wachovia Mortgage Loan       PIMCO ‐ PIMCO Funds: Global Investors Series plc,
                         Trust, LLC Series 2007‐A     Diversified Income Fund
                         Trust
                                                      PIMCO ‐ PIMCO Funds: PIMCO Income Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Total Return Fund
                                                      PIMCO ‐ PIMCO Funds: PIMCO Unconstrained Bond Fund
